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EXHIBIT 13

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The Honorable Brian Cogan

United States District Court Eastern District of New York
225 Cadman Plaza East

Brooklyn, NY 11201

4/19/2021

RE: UNITED STATES v. AARON WEINREB
Docket No.: 1:20-cr-00006-BMC

Dear Your Honer,

Ari was my senior by 3 years in SUNY Downstate Medical School, yet he genuinely
cared and offered guidance to me and my friends. Ten years later, Ari moved to my
neighborhood and started to pray in my synagogue. | got to know Ari and his beautiful family
and appreciated his involvement in various charitable organizations.

Ari often went the extra mile to ensure that his patients had the best outcome possible -
physically and emotionally. Dozens of times, his beeper set off on Shabbat - Ari left in the
middle of services to help patients.

| want to share with you a story about Ari that | will never forget. About five years ago |
had been taking care of a newborn whose father was infected with HIV. The baby was at a very
high risk of having HIV. The parents asked me to coordinate the Bris (circumcision) of the baby.
They picked a well renowned Mohel. Unfortunately, when the Mohel heard about the HIV status
he quickly refused to do the bris. | called a second Mohel, who would not commit either.

The night before the Bris, | was left to brainstorm - who would agree to circumcise this
baby? | decided to call Ari Weinreb. Ari jumped on the opportunity to help and added: “David - |
will gladly do the Bris tomorrow morning and tell them that | will not charge them’.

Ari has made strides in the past year. He consistently attends group therapy and despite
his sufferings he is trying to care for his children and become a better person. He still has the
potential and the desire to help and to heal others.

Please consider these attributes when judging Ari. He is a kind and caring person who
helped thousands of people. | thank you for your consideration and for taking the time to read
this letter.

Sincerely,

SS
David E. Simai M.D.

